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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
                     Criminal No. 20-203 (PAM/KMM)
___________________________________

United States of America,
                                                    MOTION TO DISCLOSE
                           Plaintiff,               GOVERNMENT’S INTENT
                                                    TO INTRODUCE ANY
vs.                                                 RULE 404(b) EVIDENCE

Francisco Manuel Rodriguez Valenzuela,

                      Defendant.
___________________________________


      Defendant Francisco Manuel Rodriguez Valenzuela, by and through his

attorney, Steven J. Wright, respectfully moves the Court for an order requiring

the government to provide Defendant with notice of its intent to introduce any

evidence of other crimes, wrongs, or bad acts allegedly committed by Defendant,

codefendants, or any alleged co-conspirator. Fed. R. Evid. 404(b).

      Defendant is requesting immediate disclosure of the 404(b) evidence to enable

defense counsel an opportunity to investigate and properly defend.

Dated: October 13, 2020                       Respectfully submitted,

                                              /s/ Steven J. Wright
                                              Minnesota Attorney #387336
                                              331 Second Ave South, Ste 705
                                              Minneapolis, MN 55401
                                              (612) 669-8280

                                              ATTORNEY FOR DEFENDANT
